






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00362-CV







Sylvia Garcia and Rocky Martinez Garcia, Sr., a/k/a Rocky Martinez Garcia, a/k/a Roque
M. Garcia, a/k/a Roque Martinez Garcia, Appellants


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT

NO. B-04-0226-CPS, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

	Appellants have filed motions for extensions of time to file their appellate briefs,
explaining that the record is not yet complete and that they therefore are unable to file their briefs
on time.  We abate the appeal until January 10, 2007, to allow time for the appellate record to be
supplemented.  Appellants' briefs will be due twenty days later, on January 30, 2007.  If the record
is not fully supplemented by January 10, 2007, the parties are instructed to file a report informing
this Court of the status of the appeal.


					__________________________________________

					David Puryear, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Filed:   December 18, 2006


